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8
                                   UNITED STATES DISTRICT COURT
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10                                EASTERN DISTRICT OF CALIFORNIA
11                                                   ) Case:1:16-cr-00069-LJO-SKO
     UNITED STATES OF AMERICA,                       )
12                                                   )
            Plaintiff,                               )
13                                                   ) STIPULATION AND ORDER TO CONTINUE
     vs.                                             ) HEARING
14                                                   )
     STEVEN BLACKMON,                                )
15                                                   )
                                                       DATE: February 5, 2018
            Defendant.                               ) TIME: 8:30 AM
16                                                   ) JUDGE: Hon. Lawrence J. O’Neill
17   ________________________________________)

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            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
20
     counsel RICHARD A. BESHWATE, JR., attorney for Defendant, and KIMBERLY SANCHEZ,
21
     Assistant U.S. Attorney for Plaintiff, that the hearing currently scheduled for February 5, 2018,
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23   2016, shall be continued to FEBRUARY 26, 2018, at 8:30 a.m.

24          This continuance is necessary because attorney for defendant has been in trial and needs
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     additional time to prepare for sentencing.
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            The parties stipulate that the time until the next hearing should be excluded from the
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     calculation of time under the Speedy Trial Act. The parties stipulate that the ends of justice are
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            Case 1:16-cr-00069-JLT-SKO Document 531 Filed 01/26/18 Page 2 of 2


1    served by the court excluding such time, so that counsel for the defendant may have reasonable
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     time necessary for effective preparation, taking into account the exercise of due diligence. 18
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     U.S.C. §3161(h)(7)(B)(iv). The parties stipulate and agree that the interests of justice are served
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     by granting this continuance outweigh the best interests of the public and the defendant in a
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6    speedy trial. 18 U.S.C. §3161(h)(7)(A).

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10   DATED: January 26, 2018
11
                                                   Respectfully submitted,
12                                                 /S/ RICHARD A. BESHWATE, JR.
                                                   RICHARD A. BESHWATE, JR.
13                                                 Attorney for Defendant, STEVEN BLACKMON
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     DATED: January 26, 2018

15                                                 Respectfully submitted,
                                                   /S/ Kimberly Sanchez
16
                                                   KIMBERLY SANCHEZ, Assistant U.S. Attorney
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19
                                                    ORDER

20          IT IS HEREBY ORDERED THAT the date set for hearing on February 5, 2018, shall be

21          heard on FEBRUARY 26, 2018, at 8:30 a.m.
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     IT IS SO ORDERED.
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25       Dated:     January 26, 2018                         /s/ Lawrence J. O’Neill _____
                                                    UNITED STATES CHIEF DISTRICT JUDGE
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